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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

IN RE:                                           )      CASE NO.      13-62188-JWC
                                                 )
QUANG DUY NGUYEN,                                )      CHAPTER       7
                                                 )
         Debtor.                                 )
                                                 )

                       MOTION FOR APPROVAL OF AGREEMENT
                      BETWEEN TRUSTEE AND EVALINE NGUYEN

         COMES NOW, Neil C. Gordon, Chapter 7 Trustee (“Trustee”) for the

bankruptcy estate of (the “Estate”) of Quang Duy Nguyen (“Debtor”) and, pursuant to

Rule 9019 of the Federal Rules of Bankruptcy Procedure, files this Motion for Approval of

Agreement Between Trustee and Evaline Nguyen (the “Settlement Motion”), and shows

this Honorable Court as follows:

                                     Factual Background

         1.    Debtor filed the above-styled bankruptcy case by filing a voluntary petition

under Chapter 7 of Title 11 of the United States Code on June 3, 2013 (the “Petition Date”),

initiating Case No. 13-62188-JWC (the “Case”).

         2.    On the Petition Date, Trustee was appointed to the Case as interim Chapter

7 trustee, pursuant to 11 U.S. C. § 701(a)(1).

         3.    Trustee concluded the meeting of creditors on July 1, 2013, pursuant to 11

U.S.C. § 341(a), after which time, he became the permanent Chapter 7 Trustee, pursuant to

11 U.S.C. § 702(d).

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        4.    Trustee filed his Application to Appoint Attorney for Trustee [Doc. No. 9] on

July 2, 2013, and the Court entered an Order [Doc. No. 10] on July 3, 2013, authorizing the

appointment of Arnall Golden Gregory LLP as attorneys for Trustee.

                                       The Property

        5.    Pursuant to his Schedule A – Real Property, Debtor scheduled his undivided

one-half ownership interest in that certain real property known generally as 2202 Lake

Haven Way, Suwanee, Gwinnett County, Georgia 30024 (the “Property”), which he jointly

owns with his non-filing spouse, Evaline Nguyen (“Ms. Nguyen”).

        6.    Pursuant to his Sworn Schedules, Schedule D – Creditors Holding Secured

Claims, Debtor schedule one claim against the Property: a “mortgage” in favor of Bank of

America (“BANA”) in the amount of $162,494.00 as of the Petition Date.

        7.    The Property is also encumbered by a federal tax lien against Debtor and

Ms. Matteson in the amount of $34,900.00.

        8.    Trustee obtained a full title examination of the Property effective July 10,

2013 (the “Title Report”), which confirms the Security Deed of BANA (the “BANA Deed”).

        9.    However, based on Trustee’s title investigation, he determined that the

BANA Deed is unenforceable against the Estate’s one-half interest in the Property (the

“Estate’s Property Interest”) because the Debtor is not a party to the BANA Deed. The

BANA Deed was signed only by Ms. Nguyen, leaving the Estate’s Property Interest

unencumbered as to the BANA Deed.

        10.   Accordingly, on October 15, 2015, Trustee filed a Complaint [Doc. No. 20]


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against BANA, initiating adversary proceeding Case No. 15-05402-JWC (the “Lawsuit”).

Trustee and BANA have now reached an agreement that BANA has no security interest in

the Estate’s Property Interest.

        11.    Based upon a real estate broker’s inspection of the Property and completing

a comparative marketing analysis, it appears the Property would support a listing price of

270,000.00.

        12.    Debtor and Ms. Nguyen understand the Property must be sold.

                    CONSENT TO SELL CO-OWNED PROPERTY
                  AND WAIVER OF SECTION 363 (h) REQUIREMENTS

        13.    Accordingly, pursuant to a Settlement Agreement, dated April 27, 2018,

between Trustee and Ms. Nguyen (the “Agreement”), Ms. Nguyen has waived the

requirements that a lawsuit be filed, pursuant to 11 U.S.C. § 363(h), and consented to

Trustee’s sale of the Property by motion under 11 U.S.C. §§ 363(b) and (f). The Agreement

is attached hereto marked as Exhibit “A” and incorporated herein by reference.

        14.    The “Net Sale Proceeds” shall mean all gross proceeds of sale, less (i) any

outstanding ad valorem real property taxes, (ii) the pro-rated share of 2018 ad valorem real

property taxes, (iii) any water and sewer liens, (iv) real estate commissions, (v) all routine

closing costs, and (vi) all costs necessary to close a sale of the Property.

        15.    The Net Sale Proceeds shall be held in escrow or in Trustee’s bonded

fiduciary account subject to further order of the Bankruptcy Court approving and

authorizing the distribution thereof.



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                                             RELIEF

        16.    By this Settlement Motion, the Trustee seeks entry of an order, pursuant to

Rule 9019 of the Bankruptcy Rules and applicable law, granting the Settlement Motion

and approving the Agreement.

                              BASIS FOR REQUESTED RELIEF

        17.    Rule 9019(a) of the Bankruptcy Rules provides, in pertinent part: “On

motion by the trustee and after notice and a hearing, the court may approve a compromise

or settlement.”

        18.    The standard in the Eleventh Circuit for determining whether to approve a

compromise or settlement pursuant to Rule 9019(a) was articulated in Wallis v. Justice

Oaks II, Ltd. (In re Justice Oaks II, Ltd.), 898 F.2d 1544 (11th Cir. 1990):

        When a bankruptcy court decides whether to approve or disapprove a proposed
        settlement, it must consider:

        (a) The probability of success in the litigation;
        (b) the difficulties, if any, to be encountered in the matter of collection;
        (c) the complexity of the litigation involved, and the expense, inconvenience and
        delay necessarily attending it;
        (d) the paramount interest of the creditors and a proper deference to their
        reasonable views in the premises.

Id. at 1549.

        19.    Trustee asserts that the Agreement is in the best interests of the Estate

because it (a) avoids the delay and uncertainty of a sale of the Property, pursuant to 11




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U.S.C. § 363(h); (b) reduces the administrative expenses that would otherwise be incurred;

and (c) will result in a meaningful distribution to creditors.

        WHEREFORE, having filed this Settlement Motion, Trustee prays that the

Settlement Motion be granted, the Agreement approved, and that the Court grant Trustee

such other and further relief as it may deem just and proper.

                                                   Respectfully submitted,

                                                   ARNALL GOLDEN GREGORY, LLP

                                                   By: s/ Neil C. Gordon
                                                           Neil C. Gordon
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                                                          th

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                             EXHIBIT “A” FOLLOWS




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                                CERTIFICATE OF SERVICE

       I hereby certify that I have this day served the following parties with a true and
correct copy of the foregoing pleading by depositing same in the United States Mail,
postage prepaid, addressed to:


Office of the U.S. Trustee
362 Richard Russell Federal Bldg.
75 Ted Turner Drive, S.W.
Atlanta, GA 30303

Kerry Hand
Nguyen Stephen, PC
Suite 202
5430 Jimmy Carter Blvd.
Norcross, GA 30093

Quang Duy Nguyen
2202 Lake Haven Way
Suwanee, GA 30024

Evaline Nguyen
2202 Lake Haven Way
Suwanee, GA 30024



        This 15th day of May, 2018.


                                               /s/ Neil C. Gordon
                                               Neil C. Gordon




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